             Case 1:23-cv-01599-ABJ Document 27-1 Filed 06/08/23 Page 1 of 4

               INDEX OF EXHIBITS TO PLAINTIFF’ MEMORANDUM OF LAW
              IN SUPPORT OF MOTION FOR EMERGENCY RELIEF (Dkt. No. 26)

EX. NO. DESCRIPTION
  A     Declaration of Colby Steele dated June 6, 2023
  A-1     Binance Holdings Limited, Certificate of Incumbency dated February 12, 2020
  A-2     Webcapture created on June 5, 2023 of Binance blog entitled “From Burgers to Bitcoin: How
          CZ Built a Leading Crypto Exchange in Just 180 Days,” dated November 24, 2020.
  A-3     Webcapture created on June 5, 2023 of the Binance website page entitled “Binance Country
          Selector”
  A-4     BAM Trading Services Inc. Organizational Chart (BTS00462320)
  A-5     Webcapture created on June 5, 2023 of a Binance blog entitled “Binance.US Launches in
          Two New U.S. Territories,” dated December 5, 2022.
  A-6     BAM Management US Holdings Inc. Organizational Chart dated February 27, 2019
  A-7     Letter from counsel for BAM Trading dated February 1, 2023 (BTS00831965)
  A-8     Fintech Certification of Beneficial Ownership (SEC-SGB-E-00222398)
  A-9     Binance Holdings Organizational and Beneficial Ownership Chart (BHL-SEC-
          BUSD00000001-2)
  A-10    Webcapture of a Binance website entitled “What is BNB?.”
  A-11    BNB Whitepaper dated June 16, 2017 (BHL-SEC-BUSD-0000003)
  A-12    Webcapture a Binance website entitled “The Binance.com ICO Experience, Lessons and
          Advice.”
  A-13    Webcapture of a Binance website entitled “14th BNB Burn – Quarterly Highlights and
          Insights from CZ.”
  A-14    Webcapture of a Binance website entitled “How to Use BNB to Pay for Fees and Earn 25%
          Discount.”
  A-15    Webcapture of a Reddit “ask me anything” event.
  A-16    Webcapture of a Binance website entitled “BNB Price Prediction.”
  A-17    Webcapture of a Binance entitled “Binance Labs to Invest in 7 Projects From the MVB
          Accelerator Program Co-led by BNB Chain.”
  A-18    Webcapture of a Coincodex webpage entitled “Binance Coin (BNB) Exchanges.”
  A-19    Offer of Employment dated May 8, 2019 (CC000333412)
  A-20    “Binance First Year in Review” dated July 19, 2018 (BHL-SEC-BUSD-0002022)
  A-21    Binance Chat Messages dated June 7, 2019 (BHL-SEC_BUSD-0054597)
  A-22    August 2019 Binance Financial Reporting Package (BHL-BUSD-SEC-0214986)
  A-23    Webcapture of the Binance.com website
  A-24    Webcapture of a Binance website entitled “FAQ”


                                                  1
         Case 1:23-cv-01599-ABJ Document 27-1 Filed 06/08/23 Page 2 of 4

           INDEX OF EXHIBITS TO PLAINTIFF’ MEMORANDUM OF LAW
          IN SUPPORT OF MOTION FOR EMERGENCY RELIEF (Dkt. No. 26)

A-25   Webcapture of a May 8, 2019 “AMA” with Changpeng Zhao.
A-26   Binance chat messages dated December 31, 2020 with Mandarin to English translations
       (BHL-SEC-BUSD-0311735)
A-27   Internal Binance chat dated June 8, 2019 (BHL-SEC-BUSD-0054606)
A-28   Spreadsheet excerpt entitled “BAM Market Makers” (BTS000005523)
A-29   Document entitled “Group Structure” (BHL-SEC-BUSD-0289617)
A-30   Webcapture of a Binance website entitled “Binance Beginners Guide.”
A-31   Webcapture of a Binance webpage entitled “How and why assets move between Binance
       wallets.”
A-32   Webcapture of a Binance website entitled “How to withdraw fiat currency from Binance via
       Advcash.”
A-33   Webcapture SEC staff of a Binance website entitled “Centralized crypto exchanges recorded
       $14 trillion in trading volume this year.”
A-34   “Binance US Entry: Risks and Strategies” (BHL-SEC-BUSD-0235533)
A-35   “Binance US Entry: Proposed Implementation” (BHL-SEC-BUSD-0235541)
A-36   Binance chat messages dated October 18, 2018 (BHL-SEC-BUSD-0036086)
A-37   Excerpt from an internal Binance chat dated December 24, 2018 (BHL-SEC-BUSD-0036504)
A-38   Certified translation of a June 25, 2019 recording (BHL-SEC-BUSD-0235662)
A-39   Binance chat messages dated July 15, 2020, (BHL-SEC-BUSD-0235733)
A-40   Binance chat messages dated October 7, 2020 (BHL-SEC-BUSD-0391007)
A-41   Binance chat messages dated June 14, 2019 (CC000406022)
A-42   BAM Trading Services Inc. Organizational Chart (BTS00462320)
A-43   Webcapture of a Binance webpage titled “BAM Platform Trading Rules.”
A-44   Chat messages dated July 29, 2019 (CC000407016)
A-45   Chat messages dated July 24, 2009 (CC000407003)
A-46   “Master Service Agreement” dated January 7, 2020 (BTS00039026)
A-47   “Software License Agreement” dated January 7, 2020 (BTS00039043)
A-48   “Binance.US Terms of Use” (BTS00831451)
A-49   Letter from counsel for BAM Trading to Kathleen Hitchins dated June 11, 2021
       (BTS00033433)
A-50   Accounts Spreadsheet (SEC-Primetrust-E-0013680)
A-51   Letter from counsel for BAM Trading to Kathleen Hitchins dated July 9, 2021
       (BTS00042025)


                                               2
         Case 1:23-cv-01599-ABJ Document 27-1 Filed 06/08/23 Page 3 of 4

           INDEX OF EXHIBITS TO PLAINTIFF’ MEMORANDUM OF LAW
          IN SUPPORT OF MOTION FOR EMERGENCY RELIEF (Dkt. No. 26)

A-52   “BAM Trading Services Inc. Financial Statements and Independent Auditor’s Report” dated
       December 31, 2022 (BTS00833798)
A-53   “Binance.US Seed Round Pitch Deck” (BTS00833689)
A-54   Chat messages dated August 29, 2019 (CC000272028)
A-55   Chat messages dated May 29, 2020 (CC000391390)
A-56   Spreadsheet entitled “BAM Market Makers” Excerpt
A-57   “Binance.US Institutional Onboarding Application” for Merit Peak (BHL-SEC-BUSD-
       0221710)
A-58   “Binance.US Institutional Onboarding Application” for Sigma Chain (SEC-PrimeTrust-E-
       0011951)
A-59   Letter to from counsel for BAM Trading Services Inc. to Kathleen Hitchens dated January 27,
       2023 (BTS00831945)
A-60   “BAM Management US Holdings Inc. Shareholder Resolution to Appoint Directors dated
       November 25, 2019 (BTS00044531)
A-61   “BAM Trading Services Inc. Shareholder Resolution to Appoint Directors dated November
       25, 2019 (BTS00044533)
A-62   Document dated January 6, 2020 (CC000270182)
A-63   Chat messages dated October 13, 2020 (CC00650405)
A-64   Chat messages dated November 7, 2019 (CC000274048)
A-65   BAM Trading Services Inc. Balance Sheet as of December 31, 2019 (BTS00509917)
A-66   Chat messages dated December 24, 2020 (CC000289050)
A-67   PrimeTrust Account Spreadsheet (SEC-Primetrust-E-0013680)
A-68   Letter from counsel for BAM Trading to Jorge Tenreiro dated May 26, 2023
A-69   Letter from counsel for BAM Trading to Jennifer Farer dated June 2, 2023
A-70   “Wallet Custody Agreement” dated January 7, 2020 (BHL-SEC-BUSD-0203506)
A-71   Letter from BAM Trading to Binance Holdings dated March 9, 2020 (BTS00530989)
A-72   Letter from BAM Trading to Armanino LLP dated March 31, 2021
A-73   Letter and May 6, 2022, report to BAM Management US Holdings Inc. from Armanino LLP
       dated May 20, 2022 (Armanino-BAM-000149)
A-74   “BAM Trading Services Financial Statements and Independent Auditor’s Report” dated
       December 31, 2022 (BTS00833798)
A-75   “BAM Management US Holdings Inc. Consolidated Financial Statements dated December
       31, 2019 (BTS00031479)



                                               3
         Case 1:23-cv-01599-ABJ Document 27-1 Filed 06/08/23 Page 4 of 4

           INDEX OF EXHIBITS TO PLAINTIFF’ MEMORANDUM OF LAW
          IN SUPPORT OF MOTION FOR EMERGENCY RELIEF (Dkt. No. 26)

A-76   “BAM Management US Holdings Inc.” Communication with Those Charged with
       Governance” dated December 31, 2021 (Armanino-BAM-000136)
A-77   Wells Submission of Binance Holdings dated March 15, 2023
A-78   Letter to from counsel for Binance Holding and Zhao to Jorge Tenreiro dated June 4, 2023
A-79   E-mail from Jorge Tenreiro to counsel for BAM Trading Services Inc. dated May 24, 2023
A-80   Letter from Jennifer Farer to counsel for BAM Trading dated May 30, 2023
A-81   Letter from counsel for BAM Trading to Jennifer Farer dated June 1, 2023
A-82   Chart of Key Shard Voting Record – May 2023 to June 2, 2023 (BTS00833858)
A-83   Excerpt of transcript of SEC testimony of Brian Brooks on December 13, 2021 (AMENDED)
A-84   “Binance.US Digital Asset & Custody Operations Policy” dated May 15, 2023
       (BTS000833836)
A-85   Letter from counsel for Binance Holdings Limited to Jennifer Farer dated June 1, 2023
A-86   Excerpt of transcript of SEC testimony of Catherine Coley on January 27, 2022
A-87   Excerpt of transcript of SEC testimony of Jamie Hinz on September 10, 2021
A-88   “BAM Management US Holdings Inc. Communication of Significant Deficiencies and
       Material Weaknesses in Internal Controls and Other Matters” dated December 31, 2019
       (Armanino-BAM-000057)
A-89   “BAM Management US Holdings Inc. Communication of Significant Deficiencies and
       Material Weaknesses in Internal Controls and Other Matters” dated December 31, 2021
       Armanino-BAM-000131
B      Declaration of Sachin Verma with attachments dated June 5, 2016
C      Second Declaration of Sachin Verma with attachments dated June 5, 2016




                                                4
